                    1:07-cv-01095-MMM-JAG # 38-2   Page 1 of 40
                                                                                               E-FILED
                                                                  Monday, 08 February, 2010 09:26:38 AM
                                                                           Clerk, U.S. District Court, ILCD

    ':    1                  IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
          2                         PEORIA DIVISION

          3   MEGAN HUNT,

          4                      Plaintiff,

          5   vs.                                  No. 07-1095

          6 MICHAEL FORBES and ILLINOIS
            STATE UNIVERSITY,
          7
                                 Defendants.
          8

          9                   DEPOSITION OF DONALD KNAPP

         10                     The deposition of Donald Knapp, a
              witness called at the instance of Plaintiff taken on
         11   December 15, 2009, at 1:30 p.m., at the offices of
              Illinois State University, Normal, Illinois, before
         12   Holly A. Schmid, Notary Public and Certified Shorthand
              Reporter, CSR No. 084-98-254587 for the State of
         13   Illinois, pursuant to notice.

         14
                                   APPEARANCES
         15
                                   MR. RALPH D. DAVIS
         16                        The Janssen Law Center
                                   Attorney (s) at Law
         17                        333 Main Street
                                   Peoria, IL 61602
         18                        (309) 676-2341
                                   In behalf of the Plaintiff;
         19
                                   MS. SARAH R. KERLEY
         20                        Assistant Attorney General
                                   Attorney (s) at Law
         21                        500 South Second Street
                                   Springfield, IL 62706
         22                        (217) 785-4555
                                   In behalf of the Defendant.
(        23

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         1:07-cv-01095-MMM-JAG # 38-2   Page 2 of 40



 1                             I N D E X

 2

 3   EXAMINATION                                            PG.

 4   Conducted by Mr. Davis:                                     4

 5   Conducted by Ms. Kerley:                                32

 6

 7                             E X H I BIT S

 8

 9   IDENTIFICATION                                         PG.

10   Deposition Exhibits Nos. 1 through 5:                  35

11   ***All exhibits were retained by the court reporter.

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                                                        Page2
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         1:07-cv-01095-MMM-JAG # 38-2   Page 3 of 40



 1                         IT IS STIPULATED AND AGREED by and

 2   between Counsel for Plaintiff and Counsel for Defendant,

 3   that the deposition of Donald Knapp be taken pursuant to

 4   Federal Rules of Civil Procedure by and on behalf of the

 5   Plaintiff on December 15, 2009, at the Illinois State

 6 University, Normal, Illinois, before Holly A. Sutton, a

 7 Notary Public, that the issuance of notice is waived and

 8   that this deposition may be taken with the same force

 9 and effect as if all Federal Rules had been complied

10   with.

11                      IT IS FURTHER STIPULATED AND AGREED

12   that any and all objections to all or any part of this

13   deposition are hereby reserved and may be raised on the

14   trial of this cause; and that the signature of the

15   deponent is not waived.

16                      Donald Knapp produced, sworn and

17   examined on behalf of the Plaintiff, testified and

18   deposed as follows:

19

20

21

22

23


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                                                            Page3
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         1:07-cv-01095-MMM-JAG # 38-2        Page 4 of 40



 1                         EXAMINATION

 2                         BY MR.   DAVIS:

 3              Q.    Would you state your full name and spell

 4   your last name, please?

 5              A.    My name is Donald Knapp,         K-N-A-P-P.

 6              Q.    And what is your business address?

 7              A.    Campus Box 9240, Normal,         Illinois.

 8              Q.    What is your occupation?

 9              A.     I'm a captain with the police department

10   at ISU.

11              Q.    How long have you been a captain at ISU?

12              A.    I have been a captain 10 to 15 years.           I

13   have been employed for 38.

14              Q.    In September of 2005, what position did

15   you hold at ISU?

16              A.    Captain.

17              Q.    Is there another captain by the name of

18   Keith Gehrand?

19              A.    There was at the time.         He's since

20   retired.

21              Q.    Can you give me an idea of the sense of

22   the organization structure in the ISU police?

23              A.    At that time, Keith Gehrand was in charge


                       ADVANTAGE REPORTING SERVICE
                                                                    Page4
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              1:07-cv-01095-MMM-JAG # 38-2    Page 5 of 40



     1   of patrol.    I was in charge of investigation, and we

     2   both reported to a chief of police.

     3            Q.      Who was the chief of police at that time?

     4            A.      Ron Swan, Ronald Swan.

     5            Q.      Is Ronald Swan still in the position?

     6            A.      He is.

     7            Q.      He was also in the position in 2005?

     8            A.      Yes, he was.

     9            Q.      We are here because of a matter involving

    10   a faculty member by the name of Michael Forbes, but I'm

    11   going to start talking about some issues that may have

    12   occurred earlier.     This is your Bates number 297.

    13   (Whereupon, a conversation occurred off the record.)

    14                        MS. KERLEY:     We are going to call that Knapp

    15   1.

    16                        MR. DAVIS:     I will just put it Exhibit

    17   No.1.

    18                        BY MR. DAVIS:

    19            Q.      I'm going to show you a letter previously

    20   identified as Plaintiff's Exhibit No.1.             Would you look

    21   at it, please?

    22            A.      Yes, I'm familiar with it.

    23            Q.      Do you recognize that letter?
(

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                                                                      Page5
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         1:07-cv-01095-MMM-JAG # 38-2    Page 6 of 40



 1             A.     I do.

 2             Q.    And you have recollection of reading that

 3   letter?

 4             A.     I have.

 5             Q.    How did you become aware of that letter?

 6             A.     I first saw this letter during my

 7   investigation in -- would have been '06, I believe, when

 8   the Affirmative Action Office provided us with their

 9   previous investigations of which this was a part.

10             Q.    Okay.

11             A.     I didn't see it.    At the time it carne

12   through Captain Gehrand to Shane MCCreary.

13             Q.    Now, when       now, were you given a copy of

14   this in your function?

15             A.    It was in my case file,     yes.

16             Q.    When you received that information that is

17   contained in that letter, did you take any specific

18   action in your official capacity?

19             A.    By the time I saw this letter, I was

20   already investigating the matter for which Forbes was

21   eventually indicted.       I saw this in the course of my

22   criminal investigation in May of '06.

23             Q.    All right.    Well, then let's go to where


                      ADVANTAGE REPORTING SERVICE
                                                                 Page6
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             1:07-cv-01095-MMM-JAG # 38-2       Page 7 of 40



     1   you were first then involved in this case in any fashion

     2   at all.    Do you have recollection of the -- of when you

     3   were called in to this case?

     4             A.     Yes.

     5             Q.    When was that?

     6                           MS. KERLEY:    I'm sorry.     For

     7   foundational purposes and just for clarity of the

     8   record,   "this case"?

     9                           MR. DAVIS:    This case being the case

    10   against Michael Forbes involving Megan Hunt.

    11                           MR. DAVIS:

    12             Q.    Do you remember the date of your first

    13   involvement?

    14             A.    I think it was May 2nd, which was

    15   inaccurately labeled April 2nd in the first report I

    16   wrote, but I believe May 2 is the actual date.              I would

    17   have to see the file to know for sure.

    18             Q.    But it would be fair enough to say on or

    19   about

    20             A.    Yes, it would.

    21             Q.    -- May

    22             A.    That's of '06.

(   23             Q.    Okay.     May 2, 2006?


                          ADVANTAGE REPORTING SERVICE
                                                                        Page7
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                1:07-cv-01095-MMM-JAG # 38-2        Page 8 of 40



     1                A.     Yes.

     2                Q.     Now, when you made reference to a report

     3   dated April,       I was about to provide you with a report

     4 that was produced to discovery here dated                    this would

     5   be starting with your Bates number 298.

     6                              I'm going to hand you a group of

     7   documents, and it's my understanding that these go

     8   together.

     9                              MS. KERLEY:     Are you marking it or

    10   just    --
    11                              MR. DAVIS:     I will.    It would be

I   12   Exhibit No. 2.
\
    13                              MS. KERLEY:     What's the last page of

    14   that exhibit?

    15                              MR. DAVIS:     The Bates number.

    16                              THE WITNESS:     306.

    17                              BY MR. DAVIS:

    18                Q.    Do you recognize those documents?

    19                A.    I do.

    20                Q.    Did you prepare any of those documents?

    21                A.    No.

    22                Q.    SO was this something that you also

    23   received in your packet when you were brought in on the

                             ADVANTAGE REPORTING SERVICE
                                                                            PageS
                           (309) 673-1881 or (800) 347-3124
         1:07-cv-01095-MMM-JAG # 38-2         Page 9 of 40



 1   case or soon thereafter?

 2              A.     Soon thereafter, yes.

 3              Q.     Because the date on that one is May 5th of

 4   2005?

 5              A.     Of '05.     This was a year earlier.

 6              Q.     So this would have been in the packet

 7   provided to you?

 8              A.     Yes.

 9                            MS. KERLEY:     Let's go off the record.

10   (Whereupon, a conversation occurred off the record.)

11                            BY MR. DAVIS:

12              Q.     I'm going back to -- Exhibit No.2 was in

13   the packet.     I just want to -- this is a question mark

14   at the end of this.         Was Exhibit No. 2 in the packet of

15 materials that was provided to you at the time that you

16   came upon the case around May 2nd, 2006?

17              A.    Yes.

18              Q.    Now, as a result of those materials, plus

19   the materials that were generated by the Office of

20   Civil --

21                            MS. KERLEY:     Diversity and Affirmative

22   Action.

23                            BY MR. DAVIS:

                       ADVANTAGE REPORTING SERVICE
                                                                  Page9
                     (309) 673-1881 or (800) 347-3124
             1:07-cv-01095-MMM-JAG # 38-2       Page 10 of 40



     1           Q.      -- Diversity and Affirmative Action, Mr.

     2   McCreary's office, does that comprise the bulk of the

     3 materials that you received when you came on the

     4   investigation in May 2 of 2006?

     5           A.      Ask that again, please.

     6           Q.      The exhibits that are before you, Exhibit

     7   Nos. 1 and 2, plus the materials that were generated by

     8   Shane McCreary's office, did that comprise the bulk of

     9   the materials that were provided to you when you came

    10   upon the case in May 2nd, 2006?

    11           A.      You are differentiating material from

(   12   testimony from witness interviews?

    13           Q.      Yes.

    14           A.      Yes.     Yes to your question.

    15           Q.      I am going to hand you something that has

    16   been identified previously as Exhibit No.3.

    17                          MS. KERLEY:     Can we go off the record

    18   for a minute?

    19   (Whereupon, a conversation occurred off the record.)

    20                          BY MR. DAVIS:

    21           Q.      On or around May 2nd of 2006 when you came

    22   upon the case, did the Exhibits Nos. 1 and 2 that are

    23   before you, plus material generated by Shane McCreary's

                        ADVANTAGE REPORTING SERVICE
                                                                   Page10
                      (309) 673-1881 or (800) 347-3124
             1:07-cv-01095-MMM-JAG # 38-2     Page 11 of 40



     1   office constitute the bulk of the materials that were

     2   given to you at the outset of your involvement?

     3           A.       Yes.

     4           Q.       I'm now going to hand you a document

     5   previously identified as Exhibit No.3, and I would like

     6   you to look it over.        Do you recognize that document?

     7           A.       I do.

     8           Q.       What do you recognize it as?

     9           A.       This is       these are the first few pages

    10   of the initial          of the ISU police report number

    11   2006-06-356.     It describes my initial involvement in

(   12   this case, and it also describes an interview done by

    13   another officer with one of the people we interviewed.

    14           Q.       Now, as you look at that, there's a

    15   lengthy report that is a part of that document, correct?

    16           A.       Yes.

    17           Q.       Did you review that report before you came

    18   here today?

    19           A.       I did.

    20           Q.       Rather than for us to go through that

    21   point by point, in the interest of brevity, is there

    22   anything that you would correct from that report as you

(   23   sit here today?

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                   1:07-cv-01095-MMM-JAG # 38-2   Page 12 of 40




    (    1             A.     As I mentioned a minute ago, April 2nd,

         2   2006, was actually May 2nd, 2006, and we discovered that

         3   somewhere in the past.        Other than that, I don't think

         4   so.    I believe all the narrative is accurate.

         5             Q.     Would you add anything to that report as

         6 you sit here today?

         7             A.     I don't believe so.

         8             Q.     I'm going to hand you a group of documents

         9 previously identified as Group Exhibit No.4, and there

        10   are a lot of pages, and for your purposes, it's numbers

        11   333 through 359.       Would you look over those documents?

        12             A.     Obviously somebody's notes.

        13             Q.     That's what I ask.     Do you recognize that?

        14             A.     I do not.

        15             Q.     You recognize nothing of that?

        16             A.     No.     Well, I can -- I recognize some of

        17   the content, but --

        18             Q.     Okay.     Do you recognize the handwriting?

        19             A.     No.     I have never seen these documents

        20   before.

        21             Q.     What I would like to do then today as far

        22   as spending our time, could you, generally, describe the

(       23   acti vi ties that you performed in your investigation into

                              ADVANTAGE REPORTING SERVICE
                                                                     Page12
                            (309) 673-1881 or (800) 347-3124
             1:07-cv-01095-MMM-JAG # 38-2   Page 13 of 40



(    1 Michael Forbes?       And I mean that generally, interviews,

     2   documents, inspections, and the like.        Do you understand

     3 my question?

     4           A.     Yes, I think I do.      I first became aware a

     5 day or two, I would say, prior to the date on the

     6 initial police report.       I met in Shane McCreary's office

     7 with Mr. McCreary, with Megan Hunt and with another

     8   female student, a friend of Megan's, and I'm not exactly

     9 sure      I think her last name is Richter, but I would

    10   have to make sure that's who it was.       There was some

    11   other female student friend of hers.       We had a -- I

    12   don't know -- 30-minute discussion, perhaps, in which I

    13 was given the basic story that Megan had, apparently,

    14   told Mr. McCreary.     There was discussion about options.

    15   There was discussion about what Megan did or did not

    16 want to do, and my role I would characterize as

    17   providing information, providing perhaps insight and

    18   providing options, available choices.        Then on May 2nd,

    19 McCreary brought her to my office, and I did the initial

    20   interview with her.     From that point, forward, the

    21   police reporting started.     Generally speaking, we

    22   interviewed her.     We interviewed a few people, names

(   23   that she gave us.     As you have alluded, Mr. McCreary

                        ADVANTAGE REPORTING SERVICE
                                                                 Page13
                      (309) 673-1881 or (800) 347-3124
                1:07-cv-01095-MMM-JAG # 38-2   Page 14 of 40



     1 provided me with that stack of -- those documents that

     2   we talked about earlier, which, basically, outlined two

     3   investigations previously done by ODAA.

     4                            We then -- I then, with the assistance

     5 of the state's attorney, obtained an order, and we did

     6 surreptitious phone calls and an in-person meeting

     7 between Megan Hunt and Dr. Forbes.            There were a few

     8 more interviews, I believe, of various different

     9 potential witnesses.            Forbes was indicted.    A trial was

    10   set.     Then later, weeks, months later, at the request of

    11   the state's attorney, we went back and did some more

    12   interviews in preparation for trial, and we went to

    13   trial.

    14              Q.     SO were you involved directly on any of --

    15   scratch that.         Were you aware of any activity involving

    16 Megan Hunt wearing what is called a wire?

    17              A.     Yes.

    18              Q.     Were you involved in the monitoring of the

    19   conversation?

    20              A.     I    was.

    21              Q.     So were you involved in everyone of the

    22   conversations as a listener

(   23              A.     I was.

                           ADVANTAGE REPORTING SERVICE
                                                                     Page14
                         (309) 673-1881 or (800) 347-3124
                1:07-cv-01095-MMM-JAG # 38-2   Page 15 of 40



     1              Q.      -- between -- just let me get the question

     2   out.     Between Megan Hunt and Michael Forbes?

     3              A.      I was, yes.

     4              Q.     SO that information is contained in the

     5   various         I'm not going to go through all that today

     6   in the various criminal processes that were against

     7   Mr. Forbes and carne to light in testimony, as well as

     8   other documents, including police reports, correct?

     9              A.     Yes.

    10              Q.     Did you prepare any special police reports

    11   for any entity outside of Illinois State University?

    12              A.     Yes.

    13              Q.     What were those reports and to whom?

    14              A.     The one -- the police report that's got

    15   the number 2006-06-356 on it was provided to the McLean

    16   County State's Attorney.

    17              Q.     That would have been -- do you remember

    18   what the date on that was?

    19              A.     That's this document, May 5th -- May 2nd

    20   of '06.

    21              Q.     That's the one we have been referring to?

    22              A.     That's the one we've been referring to.

/
    23              Q.     Which appears as Exhibit No. 3?
(

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             1:07-cv-01095-MMM-JAG # 38-2   Page 16 of 40



     1              A.    That and more.

     2              Q.    That and more.    What else was "and more"

     3   provided to       under your pen, to sources outside of

     4   Illinois State University?

     5              A.     It was this document, plus the packet

     6   containing the two ODAA investigations, which you were

     7   talking about earlier, plus there are a few more --

     8   there are a few more ISU police report supplements after

     9   that in what I call my file.

    10              Q.    Okay.   And that was produced in discovery

    11   that I have since torn up.

    12                        MS. KERLEY:    Just off the record real

    13   quick.

    14   (Whereupon, a conversation occurred off the record.)

    15                        MR. DAVIS:    I'm not going to make a special

    16   exhibit, but we're going to identify this as the Bates

    17   numbers?

    18                        MS. KERLEY:   Yeah, that's fine.

    19                        MR. DAVIS:    I'm going to hand you a

    20   group of documents that contain Bates numbers of 11

    21   through 84 --

    22                        MS. KERLEY:   Nine.   It should be nine

(   23   through --

                           ADVANTAGE REPORTING SERVICE
                                                                 Page16
                         (309) 673-1881 or (800) 347-3124
                  1:07-cv-01095-MMM-JAG # 38-2      Page 17 of 40



       1                            MR. DAVIS:   Excuse me,         9 through 84,

       2   and I would like you to just look through those.

       3                            BY MR. DAVIS:

       4              Q.     This is not identified by an exhibit

       5   number, but rather, by Bates numbers of 9 through 84.

       6   Do you recognize that as the entire report as you

       7   provided to the state's attorney?

       8              A.     I believe so, yes, but I can't, from

       9 memory, certify 100 percent that there isn't a missing

      10   page in here, but this -- beginning and end and all

      11   things in between, this appears to be what I call my

(     12   file.     Unless somehow somebody has lost a page or two,
,~~




      13   yes.

      14              Q.     Now, as you sit here today, do you have an

      15   independent -- I'm going to put this all back together

      16   again, so I have -- do you have an independent

      17   recollection of Michael Forbes, what he looks like?

      18              A.     You know what, not really, although I'm

      19   sure I would know him if I saw him again.                 I met the man

      20   once, and I sat in court with him.

      21              Q.     When you say you met the man once, was

      22   that for an interview?

      23              A.     Yes.

                             ADVANTAGE REPORTING SERVICE
                                                                             Page17
                           (309) 673-1881 or (800) 347-3124
         1:07-cv-01095-MMM-JAG # 38-2   Page 18 of 40



 1           Q.      I'm going to present to you -- where did I

 2   put it, as I have torn everything apart -- a document

 3   produced to us in discovery, Bates number 281, and it's

 4   an undated newspaper article apparently from the

 5   Pantagraph.   And I'm going to hand that to you and

 6   identify that as Exhibit No.5.       First, look it over.

 7           A.     Yes.

 8           Q.      I would like to ask you a question.       In

 9   the article, the second to last paragraph, the reporter

10   quotes you saying,     "In the performance of his job as a

11   music teacher, he got this student to do something he

12   shouldn't have."      Do you remember telling that to a

13   reporter?

14           A.     I don't actually remember it, but I have

15   no reason to believe it's inaccurate.

16           Q.     In forming your statement that, "In the

17   performance of his job as a music teacher," can you

18   explain to me as you sit here today what you meant by

19   that?

20           A.     At that point, I knew what he was charged

21   with, one of which was official misconduct.        That's an

22   element of the offense that is tied to his employment,

23   and that would have been my thinking at the time.

                     ADVANTAGE REPORTING SERVICE
                                                             Page18
                   (309) 673-1881 or (800) 347-3124
         1:07-cv-01095-MMM-JAG # 38-2    Page 19 of 40



 1             Q.     By the time that you became aware of the

 2   complaint against Michael Forbes, had you been priorly

 3   aware of any misconduct that Michael Forbes had been

 4   charged of involving a Christina Blankenship at ISU?

 5                       MS. KERLEY:     Objection,      just to the

 6   use of the word "charged" for foundation purposes.            I

 7   don't know if you mean criminally charged or allegations

 8   made or administrative charges.

 9                       BY MR. DAVIS:

10             Q.    I will clarify that.      Prior to being

11   brought in on the case on May 2nd, 2006, were you aware

12   of any complaints of misconduct by Professor Forbes

13   brought by a Christina Blankenship?

14             A.    At the time prior to May 2nd,        I was not.

15             Q.    Same question, prior to May 2nd or

16   thereabouts, were you aware of any complaints brought by

17   Anna Torkelson from Minnesota brought against Michael

18   Forbes?

19             A.    I certainly was not aware of the substance

20   of it.    The letter sent to Captain Gehrand, I may have

21   been aware of that letter back when he passed it on, but

22   only incidentally, if at all, and I never really saw

23   that, either, and got the details of the rest of the


                      ADVANTAGE REPORTING SERVICE
                                                                 Page19
                    (309) 673-1881 or (800) 347-3124
         1:07-cv-01095-MMM-JAG # 38-2   Page 20 of 40



 1   story until this began on May 2nd.

 2            Q.    As a matter of police practice at Illinois

 3   State, apparently, this would not involve you, so that's

 4   why I'm asking you about police practices of Illinois

 5   State.   If Captain Gehrand was made aware of a complaint

 6 brought by a student at a university in another state

 7   against a professor at Illinois State University, what

 8   responsibilities does Captain Gehrand have with respect

 9   to following up that complaint?

10                      MS. KERLEY:     Objection, speculation,

11   lack of foundation.    You can go ahead and answer.

12                      THE WITNESS:     I don't know that

13   there's a clearcut answer to that, but I know quite a

14   bit about what was actually done in this case, and I

15   support it.

16                      BY MR. DAVIS:

17            Q.    And I'm looking for procedure.       What would

18   be the appropriate procedure for a captain who had

19   received information from a police force in another

20   state involving a student at another school, but

21   complaining against an ISU professor?

22            A.    I believe, and I believe, for the record,

23   Captain Gehrand did the proper thing.        We would have --

                     ADVANTAGE REPORTING SERVICE
                                                             Page20
                   (309) 673-1881 or (800) 347-3124
                 1:07-cv-01095-MMM-JAG # 38-2   Page 21 of 40



    {    1   "we," the ISU police, would have no responsibility, I

         2   would argue, to intercede in an alleged crime that

         3   happened in Minnesota.    However, given the university

         4   nexus, when Captain Gehrand would have this information,

         5   I believe he appropriately passed it on to Diversity and

         6 Affirmative Action, which is the wing of the university

         7   that would investigate things such as sexual harassment

         8   that would have ties to the academic side of the

         9   university and so on and so forth.

        10                      Did I answer your question?

        11           Q.     Yes, and I'm going to ask a few more.

    (   12   Would there be any heightened sensitivity to the conduct

        13   or whereabouts of Dr. Forbes on campus after a complaint

        14   such as the one brought by Anna Torkelson was brought?

        15                      MS. KERLEY:      Objection; foundation,

        16   and perhaps I just don't understand your question.         Do

        17   you mean heightened sensitivity by ISU PO, was

        18   the police department

        19                      MR. DAVIS:      Well, I will give an

        20   example of what I mean.

        21                      BY MR. DAVIS:

        22           Q.     In other police work, if there's a

(       23   domestic dispute at a certain house a couple of times,

                            ADVANTAGE REPORTING SERVICE
                                                                       Page21
                          (309) 673-1881 or (800) 347-3124
        1:07-cv-01095-MMM-JAG # 38-2   Page 22 of 40




 1   that house -- you know, they say, "Oh, the Smiths are at

 2   it again."     They are sensitive, and if somebody calls,

 3   they know that it's more likely that there's something

 4   going on than not, so you would respond with knowledge.

 5   When there are complaints brought like the St. Peters

 6   Police about Anna Torkelson and Michael Forbes, does

 7   that create any other -- again, I'm using the words

 8   "heightened sensitivity," but in that sense, do you just

 9   sort of maybe keep more of an eye out or keep your ears

10   open more?

11           A.       I think the appropriate answer to that is

12 maybe.    Well

13           Q.       I'm talking about procedure.

14           A.      Yeah, I think the appropriate answer is

15 maybe.

16           Q.      Now, that's just from a general

17   standpoint.

18           A.      Right.

19           Q.      Now, specifically, to Michael Forbes, are

20   you aware of any of that -- and I'm using, for lack of

21   no better term, heightened sensitivity to Michael

22   Forbes' conduct on campus with respect to female

23   students.

                      ADVANTAGE REPORTING SERVICE
                                                          Page22
                    (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2     Page 23 of 40



     1              A.     I would say, from my memory, no, there
(
     2   wasn't any heightened attention paid to Michael Forbes

     3   based on this document by the ISU police, that

     4   qualifier.

     5              Q.    Okay.     Here is where I'm going to be

     6   asking some questions, and I do not want to go into any

     7   area that will violate anybody's privacy, so I don't

     8   need names or anything like that, but are you aware of,

     9   in your capacity as a captain of the ISU police force,

    10   other incidences of faculty who have been alleged to

    11   have -- scratch that -- were alleged to have sexually

    12   harassed a student?

    13              A.    Am I    personally aware of any other

    14   allegations

    15              Q.    Against other professors.

    16              A.    Any faculty who have allegedly harassed

    17   students?

    18              Q.    Sexually, yes.

    19              A.    Sexually harassed students.        Yes.

    20              Q.    And were you aware of those prior to April

    21   of 2006?

    22              A.    I believe so.

    23              Q.    Now, in those circumstances -- again,      I

                           ADVANTAGE REPORTING SERVICE
                                                                    Page23
                         (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2   Page 24 of 40



     1   don't need names or places, but in those circumstances
(
     2   when there were allegations brought against a faculty

     3 member for sexual harassment, was there any heightened

     4   scrutiny upon that faculty member by the ISU police?

     5            A.     Not that I'm aware of.

     6            Q.     I'm looking for were there any special

     7   cases?

     8            A.    Not that I can think of.

     9            Q.    Were there any circumstances prior to

    10   April of 2006 where the administration of the

    11   university, in any of its forums, requested, to your

    12   knowledge, of the ISU police to keep a closer watch on

    13   any faculty member for that faculty member's conduct

    14   with respect to harassment of students?

    15            A.    Not that I can remember.      That's my

    16   answer, not that I can remember.

    17            Q.    In this case, now Dean Major, and I guess

    18   Department Head Chair Major, testified that he gave

    19   special instructions to Michael Forbes with his conduct

    20   regarding students and parties and alcohol.       Are there

    21   occasions when faculty -- well, higher-ranking faculty

    22   members, department chairs or deans, inform the ISU

    23   police of any restrictions in conduct of any of the

                         ADVANTAGE REPORTING SERVICE
                                                                  Page24
                       (309) 673-1881 or (800) 347-3124
             1:07-cv-01095-MMM-JAG # 38-2   Page 25 of 40



     1   faculty members that you know of?
(
     2              A.    No, not that I know of.

     3              Q.     Is there anything in procedures that if

     4   such a thing were to arise, that there would be a

     5 procedure to follow inside the ISU Police Department?

     6              A.    Certainly nothing formal.         If anything

     7   like that were to happen, it would have to be -- I don't

     8   know what the proper term is          unofficial, off the

     9   record and unreported.     I guess I could see a situation

    10   where if one of the members of the police department had

    11   some information, and it was discussed informally, that

    12   could result in either several or one or more people

    13   having increased awareness, but there's no way to report

    14   that.     There's no way to document that.     There's no

    15   process for implementing that or recording it.           Is

    16   that --

    17              Q.    Well, you tell me.     So if there is any of

    18   that sort of heightened scrutiny under those

    19   circumstances, it would be more or less passed like

    20   around the water cooler I guess is what you're saying?

    21             A.     I think that's fair, yes.

    22             Q.     NOW, in your time at ISU and prior to

(   23   2006, do you have recollection of any informal process

                           ADVANTAGE REPORTING SERVICE
                                                                       Page25
                         (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2        Page 26 of 40



     1   like that at work with respect to a faculty member?
(
     2 Again, don't tread on anybody's privacy rights.

     3           A.      Well, if I understand your question, yes,

     4   I think I do.    I will describe

     5                          MS. KERLEY:     Let's take a break.        Let

     6 me make sure that we are not going to run afoul of any

     7   problems.

     8   (Whereupon, a conversation occurred off the record.)

     9                          BY MR. DAVIS:

    10           Q.      We're back on, and you are about to answer

    11   the question.

    12           A.      Yes,    I will give an example and see if

    13   this answers your question.          I became aware, in one

    14   situation I can think of at this moment, of an

    15   allegation that a faculty member was inappropriately

    16   sexually involved or making passes at, for lack of a

    17   better word, a female student.          Discussion with       I

    18   don't even remember the administrator I was talking to,

    19   but it was an administrator I'm pretty sure.           The

    20   discussion was, well, if there is an allegation that

    21   this faculty member is committing a crime, we need to do

    22   a report and investigate the crime.           Otherwise, this

    23   needs to go to Shane McCreary at Affirmative Action
(

                        ADVANTAGE REPORTING SERVICE
                                                                      Page26
                      (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2    Page 27 of 40



     1   because that's the bright line demarcation between what

     2   we do and what ODAA does.

     3                         So in your specific question, yes,

     4   there is, at least, one other case that I remember

     5   having information, me, personally, having information

     6   of an allegation of what certainly would have been

     7   sexual harassment, I believe, but to your -- what I

     8   believe is your underlying question, but the police

     9   department didn't get involved.       We funneled it to the

    10   part of the university that's tasked with investigating

    11   those things.

(   12              Q.    That would be what's now Shane McCreary's

    13   office?

    14              A.    What's now Shane McCreary's office,

    15   correct.

    16              Q.    I also realize that, since we took a

    17   break, that I have been referring to Christina

    18   Blankenfeld as Blankenship, so ...

    19                        MS. KERLEY:    I think you actually got

    20   it right.

    21                        MR. DAVIS:    You think I got it right?

    22                        MS. KERLEY:    I do.

(   23                        MR. DAVIS:    Well, in case that I

                           ADVANTAGE REPORTING SERVICE
                                                                   Page27
                         (309) 673-1881 or (800) 347-3124
                1:07-cv-01095-MMM-JAG # 38-2      Page 28 of 40




(,    1   didn't, so we are all on the same page, it's Christina

      2   Blankenfeld.

      3                           MS. KERLEY:     Does that change any of

      4   your answers?

      5                           THE WITNESS:     No, it does not.

      6                           BY MR. DAVIS:

      7             Q.     Prior to May of 2006, had you been

      8   involved in any investigation work on allegations

      9   brought by Christina Blankenfeld at any time?

     10             A.     No.

     11             Q.     SO you became aware of Christina

     12   Blankenfeld for the first time in Megan Hunt's case?

     13             A.     Yes.

     14             Q.     I'm going to ask this question at the

     15   recommendation of my honorific counsel.             What are your

     16   plans with respect to employment at Illinois State

     17   Uni versi ty in the near future?

     18             A.     I intend to retire sometime after -- at

     19   the end of or near the end of this spring semester,

     20   which would be late April, May, or early June of 2010.

     21             Q.     Now, so I don't have to redact things

     22   later on, I earlier asked you what your business address

     23   is.    I'm going to ask you what your residential address

                           ADVANTAGE REPORTING SERVICE
                                                                       Page28
                         (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2    Page 29 of 40



     1   is, but I don't want a street name.        I just want a town
(
     2   and a state.     Where do you reside?

     3              A.     Goodfield, Illinois.

     4              Q.     And does your phone appear in the phone

     5   directory in that town?

     6              A.     My home phone does.

     7              Q.     I don't want your phone number, but.

     8              A.     It does.

     9              Q.     How long have you lived at that address?

    10              A.    About 42 years.

    11              Q.    Have you had, essentially, the same

    12   telephone number?

    13              A.     I have.

    14              Q.    Do you have any plans to change your

    15   address?

    16              A.     I do not.

    17              Q.    You can see we are getting near the end.

    18                         As we sit here today, do you have any

    19   knowledge of other persons in the ISU Police Department

    20   who would have knowledge from their own investigation of

    21   the events of this case involving Michael Forbes other

    22   than Captain Gehrand and yourself?

    23              A.    There was a person who has since left.

                           ADVANTAGE REPORTING SERVICE
                                                                  Page29
                         (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2    Page 30 of 40



     1   He's now with Bloomington Police Department.       He was a

     2   detective at the time.       His name is Timothy Carlton.     He

     3   wrote, at least -- he did, at least, one interview in

     4   that case.

     5           Q.      Could you spell his last name?

     6           A.      C-A-R-L-T-O-N.     There is a current

     7   detective named Julie Sheppelman, S-H-E-P-P-E-L-M-A-N,

     8   who entered some of the evidence in the case, who

     9   contributed to the case file.       She not only is our

    10   evidence handling person, but she works directly with me

    lIon a daily basis.          She certainly would have been

    12   familiar with most, if not all, of this investigation.

    13   And, frankly,   the way our -- the way the ISU police

    14   system is designed, we didn't restrict this file,         so any

    15   officer who chose to read the file could have read it,

    16   and I can't address how many did and didn't.

    17           Q.      Well,    I was asking for those who have

    18   direct involvement.

    19           A.      Timothy Carlton and Julie Sheppelman, for

    20   sure, contributed to this, but it was under my

    21   supervision.

    22           Q.      It was funneled through you?

    23           A.      Yes.
(

                          ADVANTAGE REPORTING SERVICE
                                                                   Page30
                        (309) 673-1881 or (800) 347-3124
        1:07-cv-01095-MMM-JAG # 38-2     Page 31 of 40



 1           Q.       Their work, correct?

 2           A.       Yes.

 3           Q.       In the course of your work on this, other

 4   than official meetings, did you have conversations with

 5   either Dr. Major or any other faculty members about

 6 Michael Forbes?       I don't want to count the official

 7   meetings where all were gathered to give reports.

 8           A.       I don't believe I had, no.         I don't

 9   believe I did.     Faculty members are a pretty broad

10   definition, however.       Many administrators also teach.

11   Do you really mean any faculty member?

12           Q.       Yeah,    I actually do, and so I'll tell you

13   what I'm looking for, and -- you know, were there

14   occasions that would not have had official sanction

15   where, for example, Dr. Major picked up the phone and

16   called you to say,       "How is the investigation going?" or

17   things like that?

18           A.       Specifically, Dr. Major did not.         There

19   are other folks at the university who are in

20   administrative positions that -- like my boss' boss, the

21   assistant to the president, legal counsel.

22           Q.       I don't want to know about legal counsel.

23           A.       Well, okay.     Shane McCreary.     I cannot

                    ADVANTAGE REPORTING SERVICE
                                                                   Page31
                  (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2   Page 32 of 40



     1   tell you today that I didn't discuss any of this

     2   investigation with other faculty members, but as I sit

     3   here today, I can't give you an example of who I might

     4   have talked to about it.

     5           Q.    But you don't have any specific

     6   recollection as you sit here today?

     7           A.    That's correct.

     8                        MR. DAVIS:   Okay.    I think I'm done.

     9                        CROSS-EXAMINATION

    10                        BY MS. KERLEY:

    11           Q.    I just have a couple.        With respect to

(   12   Timothy Carlton or Julie Sheppelman, would their reports

    13   be contained within your case file,       the Bates stamp 9

    14   through 84 that you looked at earlier?

    15           A.    Yes.

    16           Q.    And during the questions where Mr. Davis

    17   asked you about what procedure the department might

    18   follow if an administrator notified them of restrictions

    19   of a faculty member, to which you responded an informal

    20   water cooler type procedure.      Do you recall those

    21   questions?

    22           A.    Mm-hmm.

    23           Q.    Is that a yes?
(
                        ADVANTAGE REPORTING SERVICE
                                                                 Page32
                      (309) 673-1881 or (800) 347-3124
        1:07-cv-01095-MMM-JAG # 38-2    Page 33 of 40



 1           A.    Yes,    I do.

 2           Q.    Directing your attention to that line of

 3   questioning, that's really all speculation because you

 4   have never been faced with an instance where any kind of

 5   informal process of police work occurred, other than a

 6   call from an administrator that you described, correct?

 7           A.    Yes, that is correct.

 8                        MS. KERLEY:   I don't have any further

 9   questions.

10                        (Deposition Exhibit Nos. 1 through 5

11   were marked for identification.)

12

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                    ADVANTAGE REPORTING SERVICE
                                                           Page33
                  (309) 673-1881 or (800) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2                                                    Page 34 of 40



(    1   STATE OF ILLINOIS)

     2   COUNTY OF ST. CLAIR) SS

     3

     4                                                       I, Holly A. Schmid, a Notary Public in

     5   and for the County of Williamson, DO HEREBY CERTIFY that

     6 pursuant to agreement between counsel there appeared

     7   before me on December 15, 2009, at the office of

     8   Illinois State University in Normal, Illinois, Donald

     9   Knapp, who was first duly sworn by me to testify the

    10   whole truth of his knowledge touching upon the matter in

    11   controversy aforesaid so far as he should be examined

(   12   and his examination was taken by me in shorthand and

    13   afterwards transcribed upon the typewriter (but not

    14   signed by the deponent, his signature having not been

    15   waived by agreement of counsel) and said deposition is

    16   herewith returned.

    17                                                       IN WITNESS WHEREOF I have hereunto set

    18   my hand and affixed my Notarial Seal this 26th day of




                                                                                            ~;iikJJ
    19   December, 2009.

    20
              ~//////////,,///, /.1'///

              ~'OFFICt;:L/siiAL;;""mm~
    21        ~     HO' i YA. SCHMID ~                                                      HOLLY A. SCHMID
              ~ NOTARY F                  _IC-STATE OF ILLINOIS                         ~
              ~ MY COMMISSION EXPIRES MAY 31 2010 ~
    22        ./"./"".""'"""""./ / / I' "''' / / / . / /'"./"./"./""",,,            ,,/E
                                                                           "~,, , , /       Notary Public -- CSR

    23                                                                                      084-98-254587

                                         ADVANTAGE REPORTING SERVICE
                                                                                                                   Page34
                                       (309) 673-1881 or (800) 347-3124
                 1:07-cv-01095-MMM-JAG # 38-2   Page 35 of 40



         1 Megan Hunt
(          vs.  07-1095
         2 Michael Forbes, et al.

         3         Donald Knapp, being first duly sworn, on oath
                     I,
           say that I am the deponent in the aforesaid deposition
         4 taken on December 15, 2009; that I have read the
           foregoing transcript of my deposition and affix my
         5 signature to the same.

         6                                          Donald Knapp
           State of
         7 County of

         8        IN WITNESS WHEREOF I have hereunto set my hand and
             affixed my Notarial Seal this       day of     ,20
         9

        10                                       Notary Public
             Seal:
        11

(       12
             ( Schmid)
        13

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                             ADVANTAGE REPORTING SERVICE
                                                                   Page35
                          ( 309) 673-1881 or (800 ) 347-3124
            1:07-cv-01095-MMM-JAG # 38-2                                   Page 36 of 40



    r                 ___       ~J--            3                   activity [1J - 14:15           arise [1]-   ;;~-
                                                                                                   article [2]- 18:4,
                                                                                                                         --T      broad [1]- 31:9
                                                                                                                              brought [12]- 8:23,
                                                                    actual [1]- 7:16                                        I



    1~05[1]-      9:5              3 [3J - 10:16,11 :5,
                                                                    add [1]- 12:5
                                                                    address [6] - 4:6,
                                                                                                  18:9
                                                                                                   assistance [1]- 14:4
                                                                                                                             13:19,19:11,19:13,
                                                                                                                             19:16, 19:17,20:6,
        '06 [3J - 6:7,6:22,       15:23                            28:22, 28:23, 29:9,             asslstant[1]- 31 :21      21 :14, 22:5, 24:2,
       7:22                     I 30-minute[1J-13:12               29:15,30:16                     Assistant [1] - 1:20      28:9
                ________ 306[1]- 8:16
                                                                     administration [1J -          attention [2] - 23:2,    , bulk [3] - 10:2, 10:8,
        _            O_____ ~ 309[1]-1:18                          24:10                          33:2                       11: 1
                                I 32 [1]- 2:5                        administrative [2] -          attorney [3] - 14:5,       business [2] - 4:6,
        06[1]-15:20             I 333[2]-1:17,12:11                19:8,31:20                     14:11,17:7                 28:22
        071095                  I 35[1]-2:10                         administrator [4] -           Attorney [4]- 1:16,        BY[13]- 4:2,5:18,


    ·13~'8_~:~::" _ I ~::,~" ~',23"                              I 26:18,26:19,32:18,             1:20, 1:20,15:16           8:17,9:11,9:23,
                                                                   33:6                            available [1] - 13: 18    10:20, 17:3, 19:9,
                                                                    administrators [1]-            aware [17J - 6:5,         20:16,21:21,26:9,
       1:12,34:23
                                                                   31:10                          13:4,14:15,19:1,           28:6,32:10
    f-                                         4
                                                                    affix [1] - 35:4              19:3,19:11,19:16,
       --- - -       1          I 4 [2]- 2:4, 12:9
                                                                 I affixed [2] - 34: 18,          19:19,19:21,20:5,                         c
                                                                 t 35:8                           22:20,23:8,23:13,
        1[7]-2:10,5:15,         I 42[1]-29:10                    ! aforesaid [2]- 34:11,          23:20, 24:5, 26: 13,      I
                                                                                                                            I C-A-R-L-T-O-N [1] -
       5:17,5:20, 10:7,         ~                              -I! 35:3                           28:11
       10:22, 33:10             I              5                    afoul [1J - 26:6               awareness [1] _          I 30:6
    1                                                                                             25'13                     ['    campus [2] - 21: 13,
        10[1]- 4:12             I                                I afterwards [1J -
                                                                                              I--'--B---~
                                                                                              I
        100[1]-17:9             :                                I 34:13                                                         22:22
                                                                                                                                  Campus [1] - 4:7
        11 [1] _ 16:20          ' 5 [3J - 2: 10, 18:6,                                                                      I
                                , 33:10                             agO[1J -12:1
    1
                                                                                                                                  cannot[1]- 31:23
    , 15 [5J - 1: 11, 3:5,      I  500 [1] - 1:21                   AGREED [2J - 3:1,
                                                                                                                                  capacity [2] - 6: 18,
    : 4:12,34:7,35:4               5th[2]-9:3,15:19                3:11
                                                                                                 based [1J - 23:3                23:9
    . 1 :30 [1] - 1: 11                                             agreement[2J - 34:6,
                                                                                                 basic[1J-13:13                   captain [6] - 4:9,
                                                                   34:15
                                                6                                                basis [1]- 30:11                4:11,4:12,4:17,
                  2                                                  ahead [1J - 20:11
                                                                                                 Bates [8J - 5: 12, 8:5,         20:18,23:9
    f-
                                                                     al [1J - 35:2
    !
                                   61602 [1]- 1 :17                                             8:15,16:16, 16:20,                Captain [8]- 4:16,
                                                                     alcohol [1J - 24:20
        2 [8J - 7: 16, 7:23,       62706 [1]- 1:21                                              17:5, 18:3,32:13                 6:12, 19:20,20:5,
                                                                 i allegation [3J -                                              20:8, 20:23, 21 :4,
       8:12,9:12,9:14, 10:4,       676-2341 [1]-1:18                                             became [4J - 13:4,
                                                                 I 26:15,26:20,27:6                                              29:22
       10:7,10:22                                                                               19:1,26:13,28:11
                                   ---------~                       allegations [4J -
        2005 [3J - 4:14, 5:7,                                                                    become [1J - 6:5                 Carlton [3]- 30:2,
                                               7                   19:7,23:14,24:2,
                                                                                                 began [1J - 20: 1               30:19,32:12
       9:4                                                         28:8
        2006 [12J - 7:23,                                                                        beginning [1J - 17:10            case[22]-6:15,7:1,
                                                                    alleged [3J - 21 :2,
       9:16, 10:4, 10:10,          785-4555 [1]- 1:22                                            behalf[4]-1:18,                 7:3, 7:8, 7:9, 9:1,
                                i - - - - - - - - - - - l 23:10,23:11                           1:22, 3:4, 3: 17                 9:16, 10:10, 10:22,
       10:21,12:2,19:11,                                            allegedly [1]- 23:16
       23:21,24:10,25:23,                       8                    alluded [1J - 13:23
                                                                                                 better [2] - 22:21 ,            11:12,19:11,20:14,
       28:7                                                                                     26:17                            24:17, 27:4, 27:23,
                                                                    AND [2] - 3: 1, 3: 11                                        28: 12, 29:21, 30:4,
        2006-06-356 [2J -                                                                        between [6] - 3:2,
                                   84[4]-16:21,17:1,                Anna [3]- 19:17,                                             30:8, 30:9, 32:13
       11:11,15:15                                                                              14:7,15:1,17:11,
                                  17:5,32:14                       21:14,22:6                                                     cases [1]- 24:7
        2009[5J -1:11,3:5,                                                                      27:1,34:6
                                                                    answer[7] - 20: 11 ,                                          Center[1]- 1:16
       34:7,34:19,35:4                                                                           Between [1]- 15:2
        2010 [1J - 28:20
                                r-___          9___       -----J 20:13,21:10,22:11,              bit [1J - 20:14                  CENTRAL [1]- 1:1
                                                                   22:14,24:16,26:10                                              certain [1] - 21 :23
        20_[1J - 35:8                                                                         I Blankenfeld [4J -
                                                                    answers [2] - 26: 13,                                         certainly [3] - 19: 19,
        217 [1J - 1:22             9 [3]-17:1, 17:5,                                          I 27:18,28:2,28:9,
                                                                   28:4                                                          27:6,30:11
        26th [1J - 34:18          32:13                                                         28:12
                                                                    apart[1]-18:2                                                 Certainly [1]- 25:6
        281 [1J - 18:3             9240 [1] - 4:7                                                Blankenship [3J -
                                                                    appear[1]- 29:4                                               Certified [1] - 1: 12
        297[1J - 5:12                                                                           19:4, 19:13,27:18
                                                                    appeared [1J - 34:6                                            certify [1] - 17:9
         298[1J - 8:5                           A                                                Bloomington [1J-
                                                                     appropriate [3] -                                             CERTIFY [1J - 34:5
         2nd [13J - 7:14, 7:15,                                                                 30:1
                                                                   20:18,22:11,22:14                                               Chair[1]- 24:18
       9:16,10:10,10:21,                                                                         boss [1]- 31 :20
                                   academic [1]- 21:8                appropriately [1]-                                            chairs [1] - 24:22
       12:1,12:2,13:18,                                                                          boss' [1J - 31 :20
                                   accurate [1] - 12:4             21:5                                                            change [2] - 28:3,
       15:19,19:11,19:14,                                                                        Box[1J - 4:7
                                   Action [5] - 6:8, 9:22,          April [6J - 7: 15, 8:3,                                      29:14
       19:15,20:1                                                                                break [2]- 26:5,
                                  10:1, 21 :6,26:23                12:1,23:20,24:10,                                               characterize [1] -
                                                                                                27:17
                                   action [1]- 6:18                28:20
                                                                     area [1]- 23:7                brevity [1]- 11 :21           13:16



                                       -----ADVANTAG;~:'~-~:: ING s;::~::71 _J
(                                  activities [1]- 12:23                                                                           charge [2] - 4:23, 5:1

                      _ _ _ _ _ _ L_

                                                                                                                                                 Pagel
                                           (309)        673-1881 or                  (800)          347-3124
          1:07-cv-01095-MMM-JAG # 38-2                                     Page 37 of 40


                                                                                                                                       -~--------   ~---------!


                                                               I;:~-----                     T32:16 ..                                 Faculty [1]- 31:9
   charged [4J - 18:20,          County [3J - 15:16,                                                                             I                            1


  19:4, 19:6, 19:7              34:5,35:7                      i   DepOSition [2J -
                                                                                             I
                                                                                                                         .--.-
                                                                                                                                 I
                                                                                                                                 ,Iifair[2J - 7: 18, 25:21
   charges[1J -19:8              COUNTY [1J - 34:2             ! 2:10,33:10                  i               E                      familiar [2J - 5:22,
                                                                                                                     ··----1
                                                                                                             2~;20
   chief[2J - 5:2,5:3            couple [2J - 21 :23,              deposition [7] - 1: 10,                                         30:12
   choices[1J - 13:18           32:11                             3:3,3:8,3:13,34:15,                                               far[2]-12:21,34:11
                                                                                             r.ariY [1]-
   chose [1J - 30:15             course [2J - 6:21,            ,I 35:3,35:4                                                         fashion [1J - 7:1
                                                                                             , ears [1J - 22:9
   Christina [6J - 19:4,        31:3                               describe [2] - 12:22,                                            Federal [2J - 3:4, 3:9
                                                               : 26:4                           effect[1J - 3:9
  19:13,27:17,28:1,              COURT [1]- 1:1                                                                                     female [4J - 13:8,
                                                                 described [1]- 33:6            either[3J - 19:23,
  28:9,28:11                     court [2J - 2:11,                                                                                 13:11,22:22,26:17
                                                                                               25:12,31:5
   circumstances [4J -          17:20                            describes [2J -                                                    few [6J - 11 :9, 13:22,
                                                                11:11,11:12                     element[1J - 18:22                 14:7, 16:7, 16:8,
  23:23,24:1,24:9,               create[1J - 22:7
                                                                 designed [1J - 30:14           employed [1J - 4:13                21 :11
  25:19                          crime [3J - 21 :2,
                                                                 detalls[1J-19:23               employment [2J -                    file[8J - 6:15,7:17.
   Civil [2J - 3:4, 9:20        26:21, 26:22
                                                                                               18:22,28:16                         16:9, 17:12,30:9,
   CLAIR)SS [1J - 34:2           criminal [2J - 6:22,            detective [2] - 30:2.
                                                                                                end [5]- 9:14, 17:10,              30:14,30:15,32:13
   clarify [1J - 19: 10       : 15:6                            30:7
                                                                                               28:19,29:17                          fine[1J -16:18
   clarity [1J - 7:7             criminally [1J - 19:7           different[1J - 14:8
                                                                                                entered [1J - 30:8                  First [1] - 18:6
   clearcut [1J - 20: 13         CROSS [1J - 32:9                differentiating [1]-
                                                                10:11                           entire[1J -17:6                     first [9J - 6:6, 7: 1,
   closer[1J - 24:12             CROSS-
                                                                                                entity [1J - 15: 11
   committing [1J -           I EXAMINATION[1J-                  direct[1J-30:18                                                   7:12,7:15,11:9,13:4.
                                                                                                essentially [1J-                   28:12, 34:9, 35:3
  26:21                         32:9                           i Directing [1J - 33:2
   complaining [1J -               CSR", -        ,,12, 3422   I dl""II, ''I - '4,,4           29:11                                folks[1J - 31:19




                                                         1
                                                                                                et[1J - 35:2                        follow [2J - 25:5,
  20:21                       1
                                   current[1J - 30:6               30:10
                                                                                                events [1] - 29:21
   complaint [4J - 19:2,      I            _~                       directory [1] - 29:5                                           32:18
                                                                                                eventually [1]- 6:21                following [1]- 20:9
                                  0 '7 ••
  20:5, 20:9, 21 :13
   complaints [3J -
                              iL
                              1-----                               discovered[1J-12:2
                                                                   discovery [3] - 8:4,
                                                                                                evidence [2J - 30:8,                follows [1J - 3:18
                                                                                               30:10                                FOR[1]-1:1
i 19:12, 19:16,22:5           I                     .             16:10, 18:3
                              I     daily [1J - 30.11 .            discuss [1J - 32:1        I exactly [1J - 13:8                   Forbes [21J - 5: 10,
   complied [1J - 3:9
   com prise [2J - 10:2,            date [5] - 7.12, 7.16,     '. discussed [1 J_            i  EXAMINATION [3J -                , 6:20,7:10,13:1,14:7.
                                  9:3,13:5,15:18               i 25:11                       , 2:3, 4: 1, 32:9                     14:9,15:2,15:7,
  10:8
                                    dated [2J - 8:3, 8:4            discussion [4J -            examination [1J -                  17:17, 19:2, 19:3,
   conduct [5J - 21 :12,
                                    Davis [2J - 2:4, 32: 16        13:12, 13:14, 13:15,        34:12                               19:12.19:18,21:13,
  22:22,24:13,24:19,
, 24:23                             DAVIS [25J -1:15,              26:20                     " examined [2J - 3:17,                22:6,22:19,23:2,
                                  4:2,5:16,5:18,7:9,                                         I 34:11                               24:19,29:21,31:6,
     Conducted [2J - 2:4,                                           Discussion [1J -
                                  7:11,8:11,8:15,8:17,             26:17                        example [4J - 21 :20,              35:2
    2:5
                                  9: 11, 9:23, 10:20,               dispute [1J - 21 :23       26:12,31:15,32:3                     FORBES [1J - 1:6
     constitute [1 J- 11: 1
                                  16:15,16:19,17:1,                                             Excuse[1]-17:1                      Forbes' [1] - 22:22
     contain [1J - 16:20                                             DISTRICT [2] - 1: 1,
                                  17:3, 19:9,20:16,                1: 1                      I Exhibit [12J - 5:16,                 force[3J - 3:8, 20:19,
     contained [3J - 6:17,
                                  21 :19,21 :21, 26:9,                                         5:20,8:12,9:12,9:14,                23:9
    15:4,32:13                                                      Diversity [3J - 9:21,
                                  27:21, 27:23, 28:6,                                          10:6,10:16,11:5,                     foregoing [1J - 35:4
     containing [1J - 16:6                                         10:1,21:5
                                  32:8                                                       , 12:9, 15:23, 18:6,                   formal [1J - 25:6
     content[1J - 12:17                                              DIVISION [1 J- 1:2
                                    Dean[1J-24:17                                            I 33:10
i    contributed [2J -                                              DO[1]- 34:5                                                     forming [1J - 18:16
                                    deans [1J - 24:22                                           exhibit [3] - 8: 14,                forth [1J - 21:9
    30:9,30:20                                                      document [8J - 11 :4,
                                    December [5J - 1: 11,                                      16:16, 17:4                          forums [1]- 24:11
     controversy [1J-                                              11:6,11:15,15:19,
                                  3:5,34:7,34:19,35:4                                           Exhibits [2J - 2:10,                forward [1J - 13:20
    34:11                                                          16:5, 18:2,23:3,
                                    Defendant [2J - 1:22,                                      10:22                                foundation [3J -
     conversation [6J -                                            25:14
                                  3:2                                                           exhibits [2J - 2:11,               19:6,20:11,21:15
    5:13,9:10,10:19,                                                documents [10J -
                                    Defendants [1J - 1:7                                       10:6                                 foundational [1J -
    14:19, 16:14, 26:8                                             8:7.8:18,8:20,12:8,
                                    definition [1 J- 31: 10                                     explain [1J - 18:18                7:7
     conversations [2J -                                           12:11, 12:19, 13:2,
                                    demarcation [1J-               14:1,15:8,16:20           I  eye [1J - 22:9                      frankly [1]- 30:13
    14:22,31:4
                                  27:1                               domestic [1J - 21 :23   I       -       F-                     friend [2J - 13:8,
     cooler [2J - 25:20,
                                    department [6J - 4:9,           DONALD [1] - 1:9                                               13: 11
!   32:20
                                  21:18,24:22,25:10,                 Donald [7J - 1:10,                                             full [1J - 4:3
     copy [1J - 6:13                                                                                                             !
                                  27:9,32:17                       3:3, 3:16, 4:5, 34:8,                                            function [1J - 6:14
     correct [8J - 11: 15,                                                                        faced [1J - 33:4
                                    Department [4J -               35:3,35:6                                                        funneled [2J - 27:9,
    11 :22, 15:8, 27: 15,                                                                         faculty [17] - 5:10,
                              ! ~~:~8, 25:5, 29:19,
    31:1,32:7,33:6,33:7

     Counsel [2J - 3:2.
     counsel [5J - 28.15,
                              j' . deponent[3J - 3:15,
                                  34:14, 35:3
                                                                     done [4] - 11: 12,
                                                                   14:3,20:14,32:8
                                                                     Dr[5J - 14:7, 21 :13,
                                                                   31:5,31:15,31:18
                                                                                                 23:10,23:16,24:2,
                                                                                                 24:4,24:13,24:21,
                                                                                                 25:1,26:1,26:15,
                                                                                                                                   30:22
                                                                                                                                    FURTHER[1J - 3:11
                                                                                                                                    future[1J - 28:17
    31 :21, 31 :22, 34:6,                                                                        26:21,31:5,31:11,
    34:15                          deposed [1J - 3:18                duly [2J - 34:9, 35:3       32:2,32:19
     count [1J _ 31:6              DEPOSITION [1]-                   during [2J - 6:6,
1
~-----           -----         ~~--------~~~~--
                                           ADVANTAGE REPORTING SERVICE
                                                                                                                                                      Page2
                                         (309) 673-1881 or (800) 347-3124
                  1:07-cv-01095-MMM-JAG # 38-2                                    Page 38 of 40




    (                  G                   Hunt[6]-7:10,13:7,
                                          14:7,14:16,15:2,
                                          35:1
                                                                    ~peetion.
                                                                    I
                                                                     13:2
                                                                              p, -
                                                                          instance [2]- 1:10,
                                                                                                   T        keep 1" -   22;;412
                                                                                                           Keith [2] - 4: 18, 4:23
                                                                                                        I KERLEY [20]- 1:19,
                                                                                                                                              -------------------,



                                                                                                                                                   man [2]- 17:19,
                                                                                                                                                 17:21
                                                                                                                                                   mark [1]- 9:13
             gathered [1] - 31:7           HUNT [1] - 1:3           i   33:4                              5:14,7:6,8:9,8:13,                       marked [1] - 33: 11
                                                                    I
             Gehrand [9] - 4: 18,                                   [
                                                                          instructions [1]-               9:9,9:21, 10:17,
                                           Hunt's [1]- 28: 12       I                                                                          !I marking [1] - 8:9
            4:23, 6: 12, 19:20,                                         24:19                           i 16:12,16:18, 16:22,                      material [2] - 10: 11,
            20:5, 20:8, 20:23,
            21:4,29:22
             general [1]- 22:16
                                      l____
                                      I
                                      [
                                                                          intend [1]- 28:18
                                                                          intercede [1]- 21:2
                                                                                                          19:5,20:10,21:15,
                                                                                                          26:5, 27: 19, 27:22,
                                                                                                                                                  10:23
                                                                                                                                                   materials [7] - 9: 15,
                                      I                                   interest [1]- 11 :21            28:3,32:10,33:8                        9:18,9:19, 10:3, 10:7,
             General [1] - 1:20       I    idea [1] - 4:21                                                 Kerley [1]- 2:5                        10:9, 11:1
                                      I                                   interview[4]-11:12,
             generally [2]- 12:22,    !    IDENTIFICATION [1]                                              kind [1] - 33:4                         matter[4]- 5:9,6:20,
                                                                        13:20, 17:22,30:3
            13:1                         - 2:9                                                             KNAPP [1]- 1:9                        20:2,34:10
                                                                          interviewed [3] -
             Generally [1] - 13:21         identification [1]-                                             Knapp[8]-1:10,3:3,                      McCreary [7] - 6: 12,
                                                                        11:13,13:22
             generated [3] - 9: 19,      33:11                                                            3:16,4:5,5:14,34:9,                     13:7,13:14,13:19,
                                                                          interviews [4] -
            10:7, 10:23                    identified [5] - 5:20,       10:12,13:1,14:8,                  35:3,35:6                               13:23,26:23,31:23
             given [4] - 6: 13,          10:16, 11 :5, 12:9,            14:12                              knowledge [5] -                         McCreary's [6] -
            11:2,13:13,21:3              17:4                                                             22:4,24:12,29:19,                       10:2, 10:8, 10:23,
                                                                          investigate [2] -
             Goodfield [1] - 29:3          identify [2]- 16:16,         21:7,26:22                        29:20, 34:10                            13:6,27:12,27:14
             Group [1] - 12:9            18:6                             investigating [2]-                                                       McLean[1]-15:15
                                           IL[2]-1:17,1:21
             group [3]- 8:6, 12:8,                                      6:20,27:10                                  L--- - ---- " - - - - - - j mean [5]- 13:1,
            16:20                          ILLINOIS [3] - 1: 1,           investigation [10]-                                                     19:7,21:17,21:20,
             guess [3]- 24:17,           1:6, 34:1                      5:1,6:7,6:22,10:4,                                                     ! 31: 11
                                           Illinois [15]- 1:11,                                         labeled [1]- 7:15
        ~5:9' 25:20                                                     12:23, 28:8, 29:20,                                                        meant[1]- 18:18
                                         1:13,3:5,3:6,4:7,                                              lack [3] - 20:11,
                                                                        30:12,31:16,32:2                                                           meeting [1]- 14:6
                                         15:11, 16:4,20:2,                                            22:20,26:16
        I              H                 20:4,20:7,28:16,
                                                                          investigations [3] -
                                                                                                        last [5] - 4:4, 8: 13,
                                                                                                                                                   meetings [2] - 31:4,
                                                                        6:9, 14:3, 16:6                                                          31 :7
                                         29:3,34:8                                                    13:9, 18:9,30:5
                                                                          involve [1] - 20:3                                                       Megan [9]- 7:10,
           hand [8] - 8:6, 10: 15,         implementing [1]-                                            late [1]- 28:20
                                                                          involved [7]- 7:1,                                                     13:7,13:13,13:15,
          11:4,12:8,16:19,             I 25:15                                                          Law [3]- 1:16, 1:16,
                                                                        14:14,14:18,14:21,                                                        14:7, 14:16, 15:2,
          18:5,34:18,35:8             !I IN[3]-1:1,34:17,                                             1:20
                                                                        26:16,27:9,28:8                                                          28:12,35:1
    (      handling [1]- 30:10           35:8
                                                                          involvement [4] -
                                                                                                        least [3] - 27:4, 30:3                     MEGAN [1] - 1:3
           handwriting [1]-                in-person [1]- 14:6                                          left [1]- 29:23
                                                                    [   7: 13, 11 :2, 11: 11,                                                      Megan's[1]-13:8
          12:18                            inaccurate [1]-                                              legal [2]- 31 :21,
                                                                    I   30:18                                                                      member[9]- 5:10,
        [  harassed [3]- 23:12,          18:15                                                        31:22
                                                                          involving [6] - 5:9,                                                   24:3, 24:4, 24:13,
        : 23:16,23:19                      inaccurately [1]-                                            lengthy [1] - 11: 15
                                                                        7: 10, 14:15, 19:4,                                                      26: 1, 26: 15, 26:21,
           harassment [4] -              7:15                                                           less [1] - 25: 19
                                                                        20:20, 29:21                                                             31:11,32:19
          21 :7,24:3,24:14,                inappropriately [1] -                                        letter[9]- 5:19,5:23,
                                                                          IS[2]- 3:1,3:11                                                          member's [1]- 24:13
          27:7                           26:15                                                        6:3,6:5,6:6,6:17,
                                                                          issuance [1] - 3:7                                                       members [6] - 24:22,
           Head[1]-24:18                   incidences [1]-                                            6: 19, 19:20, 19:21
                                                                          issues [1]- 5:11                                                       25:1,25:10,31:5,
           heightened [7] -              23:10                                                          Iight[1]-15:7
                                                                          ISU [19]- 4:10, 4:11,                                                  31:9,32:2
          21 :12,21 :17,22:8,              incidentally [1]-                                            likely [1] - 22:3
                                                                        4:15,4:22,11:10,                                                           memory [2]- 17:9,
          22:21, 23:2, 24:3,             19:22                                                          line [2] - 27: 1, 33:2
                                                                        16:8,19:4,20:21,                                                         23:1
          25:18                            including [1] - 15:8                                         Iistener[1]-14:22
                                                                        21:1,21:17,23:3,                                                           mentioned[1]-12:1
           herebY[1]- 3:13                 increased [1]- 25:13                                         lived [1] - 29:9
                                                                        23:9,24:4,24:12,                                                           met[3]- 13:6,17:19,
           HEREBY [1] - 34:5               independent [2] -                                            look [6] - 5:20, 11 :6,
                                                                        24:22, 25:5, 25:22,                                                       17:21
           hereunto [2] - 34: 17,        17:15, 17:16                                                 11:14,12:11,17:2,
                                                                        29:19,30:13                                                                MICHAEL[1]-1:6
          35:8                             indicted [2] - 6:21,                                       18:6
                                                                          IT[2]- 3:1,3:11                                                          Michael [16]- 5:10,
           herewith [1]- 34:16           14:9                                                           looked [1]- 32:14                        7: 10, 13: 1, 15:2,
           higher [1]- 24:21               inform [1] - 24:22                                           looking [3]- 20:17,
           higher-ranking [1] -
                                                                                      J               24:6,31:13
                                                                                                                                                  17:17, 19:2, 19:3,
                                           informal [3] - 25:23,                                                                                  19:17,22:6,22:19,
          24:21                          32:19,33:5                                                     looks [1]- 17:17                         22:21,23:2,24:19,
            hmm [1]- 32:22                 informally [1]- 25:11          Janssen [1] - 1: 16           lost [1]- 17: 12                         29:21, 31 :6, 35:2
            hold[1]-4:15                   information [8] -              jOb[2]-18:10,18:17                                                       might [2] - 32:3,
            Holly [3] - 1: 12, 3:6,      6:16,13:17,15:4,                 Julie [3] - 30:7,                             M                         32:17
          34:4                           20:19,21:4,25:11,              30:19, 32:12                                                               Minnesota [2] -
            HOLLY[1]- 34:21              27:5                             June [1] - 28:20                                                        19:17,21:3
                                                                                                    i   Main [1]-1:17
                                                                                   - _
        I
            home [1] - 29:6                initial[4]-11:10,                  -               ---'                                                 minute[2]-10:18,
            honorific [1]- 28:15                                                      K                 Major[5]- 24:17,
                                         11:11,13:6,13:19                                          !                                              12:1
                                                                                       ,, ______ -1 24:18,31:5,31:15,
            house [2] - 21 :23,            inside [1] - 25:5                                                                                       misconduct [3] -
(       i 22:1                             insight[1]-13:17
                                                                                                   i[ 31 :18
\                                                                                                                                                 18:21,19:3,19:12
        L_______                            ~-------
                                                                    I
                                                                          K-N-A-P-P [1] - 4:5

                                                 ADVANTAGE REPORTING SERVICE
                                                                                                                            ---   -----~-------~




                                                                                                                                                                Page3
                                               (309 ) 673-1881 or (800 ) 347-3124
               1:07-cv-01095-MMM-JAG # 38-2                               Page 39 of 40




/
         miss~~~-;1;~T8:5, 8:15, 11~~~
         moment[1J - 26:14         i 15:15, 17:5, 18:3,
                                                            --!              p              r  15:10, 15:14, 16:8,
                                                                                            : 20:2,20:4,20:19,
                                                                                                                             PUt[3]- 5:16,17:15,
                                                                                                                          , 18:2
{
         monitoring [1J -
                                   I
                                   I   29:7,29:12                                              21:1,21:18,21:22,          ~-----.
        14:18                      I numbers[4J -12:10,            p.m [1]- 1:11            ,1 23:3, 23:9, 24:4,          •              Q
         monthS[1J -14:10
         most[1J - 30:12
         MR[25J - 1:15, 4:2,
        5:16,5:18,7:9,7:11,
                                       16:17,16:20,17:5

                                                  o
                                                                   packet [5] - 8:23,
                                                                  9:6,9:13, 9:14, 16:5
                                                                   page [4] - 8: 13,
                                                                  17:10, 17:12,28:1
                                                                                            ; 24:12,24:23,25:10,
                                                                                               27:8, 30:13, 33:5
                                                                                                Police [4] - 22:6,
                                                                                               25:5,29:19,30:1
                                                                                                                          r-:
                                                                                                                          'I
                                                                                                                                alifie:[1] - 23:4
                                                                                                                            questioning [1] -
                                                                   pages [2]- 11 :9,             position [3]- 4:14,       33:3
        8:11,8:15,8:17,9:11,
                                        oath [1]- 35:3            12:10                        5:5,5:7                      questions [4] - 23:6,
        9:23,10:20, 16:15,
                                        Objection [3] - 19:5,      paid [1] - 23:2              positions [1]- 31 :20      32 :16 ,32:21,33:9
        16:19,17:1,17:3,                                                                                                  '1




                                       20:10,21:15                 Pantagraph [1] -              potential [1]- 14:9        quick [1]- 16:13
        19:9,20:16,21:19,
                                        objections [1J - 3: 12    18:5                          practice [1] - 20:2       , quite[1]-20:13
        21 :21, 26:9, n21,
        27:23, 28.6, 32.8               obtained [1J - 14:5        paragraph [1J - 18:9          practices [1]- 20:4      i     quotes [1] -   1~~O.     '
                                                                                                                                          I
    1


    ,    MS[20J-1:19,5:14,              Obviously [1]-             part [4] - 3: 12, 6:9,        preparation [1] -        1---
        7:6, 8:9,8:13, ~:9,
                                       12:12                      11:15,27:10                  14:12                      I              R_
                                        occasions [2] -                                                                   I··                  .~.   -   "
    1   9:21,10.17,16.12,                                          parties [1J - 24:20           prepare [2] - 8:20,
        16:18, 16:22, 19:5,            24:21,31:14                 passed [3] - 19:21,         15:10
                                                                                                                          j   raised [1J - 3:13
    '   20:10,21:15,26:5,               occupation [1] - 4:8      21:5,25:19                    present[1]- 18:1              RALPH [1J - 1:15
        27:19,27:22,28:3,               occurred [7]- 5:12,        passes [1] - 26: 16           president [1] - 31 :21
    [                                                                                                                         ranking [1J - 24:21
    i   32:10,33:8                     5:13,9:10, 10:19,           past[1]- 12:3                 pretty [2]- 26:19,
                                       16:14,26:8,33:5                                                                        Rather [1 J- 11 :20
    I    music [2J - 18:11,                                        patrol [1]- 5:1             31:9                       1


                                        ODAA [3]- 14:3,                                                                       rather[1J - 17:5
        18 17                                                      PD[1]-21:17                   previous [1] - 6:9
    1      :                           16:6,27:2                                                                              read [3J - 30:15,35:4
                                                                   pen[1]-16:3                   previously [5]- 5:19,
                                        OF [4] - 1: 1, 1:9,                                                                   reading [1J - 6:2
                   N                   34:1,34:2
                                                                   people [3]- 11 :13,         10:16, 11 :5, 12:9,            real [1J - 16:12
                                                                  13:22,25:12                I 14:3
                                        offense[1]- 18:22                                                                     realize [1 J- 27: 16
                                                                   PEORIA [1] - 1:2              priorly [1]- 19:2
         name [9J - 4:3, 4:4,           office [S] - 10:2,                                  I privacy [2]- 23:7,              reallY[4J -17:18,
                                                                   Peoria [1]- 1:17
        4:5,4:17,5:10,13:9,            10:8,11:1,13:6,                                                                      19:22,31:11,33:3
                                                                   percent[1J - 17:9           26:2
        29: 1, 30:2, 30:5              13:19,27:13,27:14,                                                                     reaSOn[1J -18:15
                                                                   performance [2] -             problems [1] - 26:7
    i    named [1J - 30:7              34:7                                                                                   received [4J - 6:16,
                                                                  18:10, 18:17                  procedure [6] -
    I    names [3J - 13:22,             Office[2]- 6:8,9:19                                                                 8:23,10:3,20:19
                                                                   performed [1]-              20:17,20:18,22:13,
        23:8,24:1                       officer [2] - 11: 13,                                                                 recognize [9J - 5:23,
                                                                  12:23                        25:5,32:17,32:20
         narrative[1J -12:4            30:15                                                                                8: 18, 11 :6, 11 :8,
    1                                                              perhaps [3]- 13:12,          Procedure [1]- 3:4
    :    near[3J - 28:17,               offices [1]- 1:11                                                                   12:13, 12:15, 12:16,
                                                                  13:17,21:16                   procedures [1] -
    I   28:19,29:17                     official [5] - 6: 18,                                                               12:18, 17:6
                                                                   person [3] - 14:6,          25:3
    :    need [3J - 23:8, 24: 1,       18:21,31:4,31:6,                                                                       recollection [5] - 6:2,
                                                                  29:23,30:10                    process [3] - 25: 15,
    I   26:21                          31:14                                                                                7:2,17:17,25:23,
                                                                   personally [2] -            25:23,33:5                   32:6
    1    needs [1J - 26:23              OnCe[2]- 17:20,           23:13,27:5                    processes [1] - 15:6          recommendation [1]
    I    never[3J - 12:19,             17:21                       persons [1]- 29:19            produced [4]- 3:16,        - 28:15
        19:22,33:4                      One[13]-9:3,11:13,         Peters [1] - 22:5           8:4, 16:10, 18:3               record [11]- 5:13,
         newspaper[1J - 18:4           14:21, 15:14, 15:21,        PG [2] - 2:3, 2:9            Professor[1]-19:12          7:8,9:9,9:10, 10:17,
         nexus [1J - 21:4              15:22,18:21,21 :14,
                                                                   phOne[6]- 14:6,               professor[2]- 20:7,        10:19, 16:12, 16:14,
         Nine [1J - 16:22              25:10,25:12,26:13,
                                                                  29:4, 29:6, 29:7,            20:21                        20:22, 25:9, 26:8
         nine [1J - 16:22              27:4,30:3
                                                                  31 :15                        professors [1]-               recording [1]- 25:15
         Nonnal [4J - 1:11,             open [1]- 22:10
                                                                   picked [1J - 31 :15         23:15                      1
                                                                                                                          , redact[1]- 28:21
        3:6,4:7, 34:8                   options [2]- 13:14,
                                                                   places [1]- 24: 1             proper [2] - 20:23,          reference [1] - 8:2
         Nos[4J-2:10,10:7,             13:18
                                                                   Plaintiff [6] - 1:4,        25:8                           referring [3]- 15:21,
    ,   10:22,33:10                     order[1]- 14:5
                                                                  1:10,1:18,3:2,3:5,             provide [1]- 8:3           15:22,27:17
         Notarial [2J - 34:18,          organization [1] -
                                                                  3:17                           provided [S] - 6:8,          regarding [1]- 24:20
    ,   35:8                           4:22
    1
                                                                   Plaintiff's [1] - 5:20      9:7,9:15,10:9,14:1,            remember[s]- 7:12,
         Notary [5J - 1:12,             Otherwise [1] -                                        15:15,16:3,17:7
                                                                   plans [2] - 28: 16,                                      15:17, 18:12, 18:14,
        3:7, 34:4, 34:22,              26:22
                                                                  29:14                          providing [3] -            24:15,24:16,26:18,
        35:10                           outlined [1]- 14:2                                     13:17, 13:18
                                                                   pIUS[5]-9:18,10:7,                                       27:4
         notes[1J -12:12                outset [1] - 11:2         10:23, 16:5, 16:7              Public[5]- 1:12, 3:7,        report [14] - 7: 15,
         nothing [2J - 12: 15,
        25:6
                                        outside [2] - 15: 11,
                                       16:3
                                                                   point [4] - 11 :21,         34:4, 34:22, 35: 1°          8:2,8:3,11:10,11:15,
                                                                  13:20,18:20                    purposes [3]- 7:7,         11:17,11:22,12:5,
          notice[2J - 1:13, 3:7         own [1]- 29:20             police [26] - 4:9,          12:10, 19:6                  13:6, 15:14, 16:8,
         notified [1J - 32: 18                                    4:22,5:2,5:3,11:10,            pursuant[3]-1:13,
                                                                                                                          1 '706 ,250'3,26022
         number[9J - 5:12,                                        13:6, 13:21, 15:8,           3:3,34:6
                                                                                                              _ _ _- - L . _ _
                                                                                            I
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                 1:07-cv-01095-MMM-JAG # 38-2                           Page 40 of 40



                                                                                                                                                          -I
            reported [1J - 5:2       35:8,35:10                 31 :18                                                         24:11,27:10, 31 :19
                                                                                                           T
( •         Reporter[1J - 1:12        second [1J - 18:9          specifically [1J -                                             UNIVERSITY [1J -
                                                                                                                                                           I
            reporter [3J - 2: 11 ,    Second [1J - 1:21         22:19                                                          1:6                         !

           18:9,18:13                 See[5J - 6:11,7:17,        speculation [2J -               tasked [1J - 27:10             University [7J - 1: 11,
            reporting [1J - 13:21    25:9,26:12,29:17           20:10,33:3                       teach [1J - 31:10             3:6,15:11,16:4,20:7,
            reports [5J - 15:8,       semester[1J - 28:19        spell [2J - 4:3, 30:5           teacher[2J - 18: 11 ,         28:17,34:8
           15:10,15:13,31:7,          sense [2J - 4:21, 22:8     spending [1J - 12:22           18:17                           Unless [1J - 17:12
                                                                                                 telephone [1 J- 29: 12    I    unofficial [1J - 25:8
           32:12                      sensitive [1J - 22:2       spring [1J - 28:19
            request[1J -14:10         sensitivity [4J -          Springfield [1J - 1:21          term [2J - 22:21, 25:8         unreported [1J - 25:9
            requested [1J - 24:11    21:12,21:17,22:8,           St[1J - 22:5                    testified [2J - 3: 17,         up [3J - 16:11,20:9,
            reserved(1J - 3:13       22:21                       ST[1J - 34:2                   24:18                          31:15
            reside [1J - 29:2         sent[1J -19:20             stack [1J - 14: 1               testify [1J - 34:9
            residential [1J -         September(1J - 4:14        stamp[1J - 32:13                testimony [2J -                          V
      i    28:23                      set[3J -14:10,34:17,       standpoint [1J -               10:12, 15:7
            respect [6J - 20:8,      35:8                       22:17                            THE[5J -1:1,1:1,
                                                                                                8:16,20:12,28:5                 various [3J - 14:8,
           22:22,24:14,26:1,          several [1J - 25: 12       start [1J - 5: 11
                                                                                                 thereabouts [1J-              15:5, 15:6
           28:16,32:11                sexual [3J - 21 :7,        started [1J - 13:21
                                                                                                19:16                           violate [1J - 23:7
            respond [1J - 22:4       24:3,27:7                   starting [1J - 8:5
                                                                                                 thereafter[2J - 9: 1,          VS [2J - 1:5, 35:1
            responded [1J -           sexually [2J - 23: 11,     state [4J - 4:3, 20:6,
           32:19                     26:16                      20:20,29:2                      9:2
            responsibilities [1J -    Sexually [2J - 23:18,      STATE [2J - 1:6, 34:1           thinking [1J - 18:23                     W
           20:8                      23:19                       State [11 J- 1: 11 ,            tied[1J-18:22
            responsibility [1J -      Shane [8J - 6:12,         1: 12, 3:5, 15: 11, 16:4,        ties[1J-21:8
                                                                                                                              waived [3J - 3:7,
           21 :1                     10:8, 10:23, 13:6,         20:3, 20:5, 20:7,                Timothy [3J - 30:2,
                                                                                                                             3:15,34:15
            rest[1J - 19:23          26:23,27:12,27:14,         28:16,34:8,35:6                 30:19,32:12
                                                                                                                              watch [1J - 24:12
            restrict[1J - 30:14      31:23                       State's [1J - 15:16             today [11J - 11 :18,      I
                                                                                                                              water[2J - 25:20,
            restrictions [2J -        Sheppelman [3J -           state's [3J - 14:5,            11 :23, 12:6, 12:21,
                                                                                                                             32:20
           24:23, 32: 18             30:7,30:19,32:12           14:11,17:7                      15:5,17:14,18:18,
      I                                                                                                                       wearing [1J - 14:16
            result[2J - 9:18,         SHEPPELMAN [1J -           statement [1J - 18:16          29: 18, 32: 1, 32:3,
                                                                                                                              weeks [1J - 14:10
           25:12                     30:7                        STATES[1J -1:1                 32:6
                                                                                                                              whereabouts [1J -
            retained [1J - 2:11       Shorthand [1 J- 1: 12      still [1J - 5:5                 together[2J - 8:8,
                                                                                                                             21 :13
            retire [1J - 28: 18       shorthand [1J -                                           17:15
                                                                 STIPULATED [2J -                                             WHEREOF [2J -
                                     34:12                      3:1,3:11                         took [1J - 27:16
            retired [1J - 4:20                                                                                               34:17,35:8
            returned [1J - 34:16      show[1J - 5:19             story [2J - 13: 13,             Torkelson [3J -
                                                                                                                              whole [1J - 34:10
                                      side [1J - 21:8           20:1                            19:17,21:14,22:6
            review[1J - 11 :17                                                                                                Williamson [1J - 34:5
                                      signature [3J - 3: 14,     Street[2J -1:17,1:21            torn[2J-16:11,18:2
            Richter[1J - 13:9                                                                                                 wing [1J - 21:6
                                     34:14,35:5                  street [1J - 29:1               touching [1J - 34:10
            rights [1J - 26:2                                                                                                 wire [1J - 14:16
                                      signed [1J - 34:14         structure [1J - 4:22            town [2J - 29:1,29:5
            role [1J - 13:16                                                                                                  witness [2J - 1:10,
                                      sit [7J - 11 :23, 12:6,    student [7J - 13:8,             transcribed [1J -
            Ron [1J - 5:4                                                                                                    10:12
                                     17:14, 18:18,29:18,        13: 11, 18: 11, 20:6,           34:13
            Ronald [2J - 5:4, 5:5                                                                                             WITNESS [5J - 8:16,
                                     32:2,32:6                  20:20,23:12,26:17                transcript [1 J- 35:4
            Rules [2J - 3:4, 3:9                                                                                             20:12,28:5,34:17,
                                      situation [2J - 25:9,      students [5J - 22:23,           tread [1J - 26:2
            run [1J - 26:6                                                                                                   35:8
                                     26:14                      23:17,23:19,24:14,               trial [4J - 3:14, 14:9,
                                                                                                                              witnesses [1J - 14:9
                                      Smiths [1J - 22:1         24:20                           14:12, 14:13
                          S                                                                      truth [1J - 34:10
                                                                                                                              word [2J - 19:6,
                                      so .• [1J - 27:18          substance [1J -                                             26:17
                                      sometime[1J - 28:18       19:19                            two[4J-13:5,14:2,
                                                                                                                              words [1J - 22:7
          sanction [1J - 31 :14       somewhere [1J -            supervision [1J -              16:6, 17:12
                                                                                                                              works [1J - 30:10
          SARAH [1J -1:19            12:3                       30:21                            type [1J - 32:20
                                                                                                                              wrote [2J - 7:16, 30:3
          sat[1J - 17:20              soon [1J - 9:1             supplements [1J-                typewriter[1J - 34:13
          SaW[5J - 6:6,6:19,          Soon [1J - 9:2            16:8                                                                      y
         6:21, 17:19, 19:22           sorry [1J - 7:6            support [1J - 20: 15                      U
      Ii SCHMID [1J - 34:21           sort [2J - 22:9, 25: 18    surreptitious [1J -
          Schmid[3J -1:12,            sources [1J - 16:3        14:6                                                          year[1J - 9:5
                                                                                               undated [1J - 18:4
      : 34:4,35:12                    South [1J - 1:21           Sutton [1J - 3:6                                             years [2J - 4:12,
                                                                                               under [3J - 16:3,
                                                                                                                           : 29:10
       i school [1J - 20:20           speaking [1J - 13:21       Swan [3J - 5:4, 5:5
                                                                                              25:18, 30:20
      I scratch [2J - 14:15,          special [4J - 15:10,       sworn [3J - 3:16,                                            yourself[1J - 29:22
                                                                                               underlying [1J - 27:8
      : 23:11                        16:15,24:6,24:19           34:9,35:3
                                                                                               UNITED [1J - 1:1
      I scrutiny [2J - 24:4,          specific [3J - 6:17,       system [1 J - 30: 14
                                                                                               university [7J - 20:6,
(      1
       I
         25 18
            :          .
          Seal [3J - 34.18,
                                     27:3,32:5                                              I
                                                                                            I 21 :3, 21 :6, 21 :9,
                                      Specifically [1J -                                    i
      ,I        -------   - -

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